12/24/2015                                                               Case Information
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                                                       DISTRICT COURT OF MARYLAND
                                                                   Go Back Now
    Case Information


    Court System: DISTRICT COURT FOR BALTIMORE CITY ­ CRIMINAL SYSTEM
    Case Number:         1B02219183 Tracking No: 136105886943
    Case Type:           CRIMINAL
    District Code:       01 Location Code: 01
    Document Type:       STATEMENT OF CHARGES Issued Date: 04/20/2013
    Case Status:         CLOSED Case Disposition: TRIAL


    Defendant Information


    Defendant Name: JEFFERS, RYE KIESHA
    Race: BLACK, AFRICAN AMERICAN
    Sex: F Height: 507 Weight: 215 DOB: 07/18/1985
    Address: 3727 PIKESWOOD DR
    City:    RANDALLSTOWN State: MD Zip Code: 21133 ­ 0000


    Charge and Disposition Information


        (Each Charge is listed separately. The disposition is listed below the Charge)

      Charge No: 001 Description: DISORDERLY CONDUCT
      Statute:     CR.10.201.(c)(2) Description: DISORDERLY CONDUCT
      Amended Date: CJIS Code: 2 0050 MO/PLL: Probable Cause: X
      Incident Date From: 04/19/2013                To: 04/19/2013         Victim Age:

     Disposition


      Plea:                    OTHER PLEA
      Disposition:             NOLLE PROSEQUI Disposition Date:09/16/2013
                               Fine: $0.00 Court Costs: $0.00 CICF: $0.00
      Amt Suspended:           Fine: $0.00 Court Costs: $0.00 CICF: $0.00
      PBJ EndDate:               Probation End Date: Restitution Amount: $0.00
      Jail Term:               Yrs: Mos: Days:
      Suspended Term:          Yrs: Mos: Days:
      Credit Time Served:

      Charge No: 002 Description: FAIL OBEY RENBLE/LAWFL
      Statute:     CR.10.201.(c)(3) Description: FAIL OBEY RENBLE/LAWFL
      Amended Date: CJIS Code: 2 0055 MO/PLL: Probable Cause: X
      Incident Date From: 04/19/2013                To: 04/19/2013         Victim Age:

     Disposition


      Plea:                    OTHER PLEA
      Disposition:             NOLLE PROSEQUI Disposition Date:09/16/2013
                               Fine: $0.00 Court Costs: $0.00 CICF: $0.00
      Amt Suspended:           Fine: $0.00 Court Costs: $0.00 CICF: $0.00
      PBJ EndDate:               Probation End Date: Restitution Amount: $0.00
      Jail Term:               Yrs: Mos: Days:
      Suspended Term:          Yrs: Mos: Days:
      Credit Time Served:

      Charge No: 003 Description: RESIST/INTERFERE WITH ARREST
http://casesearch.courts.state.md.us/casesearch/inquiryByCaseNum.jis                        1/2
12/24/2015                                                             Case Information
                        Case 1:16-cv-03683-JFM Document 23-6 Filed 12/12/16 Page 2 of 2
      Statute:     CR.9.408.(b) Description: RESIST/INTERFERE WITH ARREST
      Amended Date: CJIS Code: 1 0600 MO/PLL: Probable Cause: X
      Incident Date From: 04/19/2013                To: 04/19/2013       Victim Age:

     Disposition


      Plea:                    OTHER PLEA
      Disposition:             NOLLE PROSEQUI Disposition Date:09/16/2013
                               Fine: $0.00 Court Costs: $0.00 CICF: $0.00
      Amt Suspended:           Fine: $0.00 Court Costs: $0.00 CICF: $0.00
      PBJ EndDate:               Probation End Date: Restitution Amount: $0.00
      Jail Term:               Yrs: Mos: Days:
      Suspended Term:          Yrs: Mos: Days:
      Credit Time Served:


    Related Person Information



        (Each Person related to the case other than the Defendant is shown)

    Name:BROWN, NEISHA
    Connection:WITNESS/POLICE OFFICER
    Agency Code: MTA Agency Sub­Code: 0001 Officer ID: 0274

    Name:
    Connection:WITNESS/POLICE OFFICER
    Agency Code: MTA Agency Sub­Code: 0001 Officer ID: MTA0

    Name:HARRISON, RAQUEL
    Connection:COMPLAINANT/POLICE OFFICER
    Agency Code: MTA Agency Sub­Code: 0001 Officer ID: 0155

    Name:REYES, MARIANNE
    Connection:ASSISTANT PUBLIC DEFENDER
    Address: 4151 PARK HEIGHTS AVE
    City: BALTIMORE State: MD Zip Code: 21215 ­ 0000


    Event History Information



                      Event Date                      Comment
                      DOCI        04/20/2013          SC ISSUED 130420
                      INIT        04/20/2013          130420;00000000.00;ROR ;100; ;1324
                      BSET        06/03/2013          130603;00000000.00;BALC;100; ;9Z2
                      WARI        06/03/2013          130603;AD 5900;1;FTA;D13007578­3
                      WARR        06/17/2013          130617;D13007578­3;RECALL/RESET PER JUDGE C


    This is an electronic case record. Full case information cannot be made available either because of legal restrictions
             on access to case records found in Maryland rules 16­1001 through 16­1011, or because of the practical
                               difficulties inherent in reducing a case record into an electronic format.




http://casesearch.courts.state.md.us/casesearch/inquiryByCaseNum.jis                                                         2/2
